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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK



 SECURITIES AND EXCHANGE CONIlVIISSION,

                                     Plaintiff,
                                                              C.A. No.    -


 EARTHSOURCE MIl~TERALS INTERNATIONAL,
 LLC, et al.,

                                     Defendants.



                          CONSENT OF DEFENDANT
                  EARTHSOURCE ~ERALS INTERNATIONAL,LLC

               Defendant EarthSource Minerals International, LLC("Defendant") waives service

ofa summons and the complaint in this action, enters a general appearance, and admits the

Court's jurisdiction over Defendant and over the subject matter of this action.

       2.      Without admitting or denying the allegations of the complaint(except as to

personal and subject matter jurisdiction, which Defendant admits), Defendant hereby consents to

the entry ofthe final Judgment in the form attached hereto (the "Final Judgment"} and

incorporated by reference herein, which, among other things:

             (a)      permanently restrains and enjoins Defendant from violation of Section

                      10(b) of the Securities Exchange Act of 1934 (the "Exchange Act")[15

                      U.S.C. § 78j(b)] and Rule lOb-5 promulgated thereunder[17 C.F.R.

                      § 240.1 Ob-5] and Section 17(a) of the Securities Act of 1933 (the

                      "Securities Act"}[15 U.S.C. § 77q(a)].
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       3.      Defendant waives the entry of findings offact and conclusions of law pursuant to

Rule 52 of the Federal Rules of Civil Procedure.

       4.      Defendant waives the right, if any, to a jury trial and to appeal from the entry of

the Final Judgment.

       5.      Defendant enters into this Consent voluntarily and represents that no threats,

offers, promises, or inducements of any kind have been made by the Commission or any

member, officer, employee, agent, or representative of the Commission to induce Defendant to

enter into this Consent.

       6.      Defendant agrees that this Consent shall be incorporated into the Final Judgment

with the same force and effect as if fully set forth therein.

       7.      Defendant will not oppose the enforcement ofthe Final Judgment on the ground,

if any exists, that it fails to comply with Rule 65(d)ofthe Federal Rules of Civil Procedure, and

hereby waives any objection based thereon.

       8.      Defendant waives service of the Final Judgment and agrees that entry of the Final

Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant

of its terms and conditions. Defendant further agrees to provide counsel for the Commission,

within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit

or declaration stating that Defendant has received and read a copy of the Final Judgment.

       9.      Consistent with 17 C.F.R § 202.50, this Consent resolves only the claims

asserted against Defendant in this civil proceeding. Defendant acknowledges that no promise or

representation has been made by the Commission or any member, officer, employee, agent, or

representative ofthe Commission with regard to any criminal liability that may have arisen or

may arise from the facts underlying this action or immunity from any such criminal liability.
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Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,

including the imposition of any remedy or civil penalty herein. Defendant further acknowledges

that the Court's entry of a permanent injunction may have collateral consequences under federal

or state law and the rules and regulations ofself-regulatory organizations, licensing boards, and

other regulatory organizations. Such collateral consequences include, but are not limited to, a

statutory disqualification with respect to membership or participation in, or association with a

member of, aself-regulatory organization. This statutory disqualification has consequences that

are separate from any sanction imposed in an administrative proceeding. In addition, in any

disciplinary proceeding before the Commission based on the entry of the injunction in this

action, Defendant understands that it shall not be permitted to contest the factual allegations of

the complaint in this action.

        10.    Defendant understands and agrees to comply with the terms of 17 C.F.R.

§ 202.5(e), which provides in part that it is the Commission's policy "not to permit a defendant

or respondent to consent to a judgment or order that imposes a sanction while denying the

allegations in the complaint or order for proceedings," and "a refusal to admit the allegations is

equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies

the allegations." As part of Defendant's agreement to comply with the terms of Section 202.5(e),

Defendant:(i) will not take any action or make or permit to be made any public statement

denying, directly or indirectly, any allegation in the complaint or creating the impression that the

complaint is without factual basis; {ii) will not make or permit to be made any public statement

to the effect that Defendant does not admit the allegations of the complaint, or that this Consent

contains no admission of the allegations, without also staxing that Defendant does not deny the

allegations; and (iii) upon the filing of this Consent, Defendant hereby withdraws any papers
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filed in this action to the extent that they deny any allegation in the complaint. If Defendant

breaches this agreement, the Commission may petition the Court to vacate the Final Judgment

and restore this action to its active docket. Nothing in this paragraph affects Defendant's:(i)

testimonial obligations; or (ii) right to take legal or factual positions in litigation or other legal

proceedings in which the Commission is not a party.

        11.     Defendant hereby waives any rights under the Equal Access to Justice Act, the

Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to

seek from the United States, or any agency, or any official of the United States acting in his or

her official capacity, directly or indirectly, reimbursement of attorney's fees or other fees,

expenses, or costs expended by Defendant to defend against this action. For these purposes,

Defendant agrees that Defendant is not the prevailing party in this action since the parties have

reached a good faith settlement.

        12.    Defendant agrees that the Commission may present the Final Judgment to the

Court for signature and entry without further notice.
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        13.    Defendant agrees that this Court shall retain jurisdiction over this matter for the

 purpose of enforcing the terms of the Final Judgment.



                                      EARTHSOURCE MIlVERALS INTERNATIONAL,LLC
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                                                                                  _._.
                                      gy_       r l„is.~t. ~           ~
                                            Jason .Wendt
                                            President
                                            EarthSource Minerals International, LLC
                                            578 Manitou Beach Road
                                            Hilton, NY 14468-9250



       On ~~,s~~f             202~      ~<;s c ~.~ ti1. (,J~~.~ -~ ,a person known to me,
personally appeared b  fore me  and acknowledged   executing the foregoing Consent with full
authority to do so on behalf of EarthSource Minerals International, LLC as its President.



                                               Notary Public
                                               Commission expires:


                                                          MICHAEL R. WOLFORD
                                                    N OTARY
 Approved as to form:                                        pUgLIC, State of New
                                                             N o•                    York
                                                        Q ualified02W04614116
                                                                   in Ontario County
                                                     Commission
                                                                  Expires July 31,20~

 M' hael R. olford
 Bond, Schoeneck &King PL C
 350 Linden Oaks, Third Floor
 Rochester, NY 14625
(585)362-4719

Attorney for Defendant
EarthSource Minerals International, LLC
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               EARTHSOURCE MINERALS INTERNATIONAL,LLC
                 CERTIFICATE OF CORPORATE RESOLUTION

I, :>~~<<,~ ,y . ~~~f;    ~ do hereby certify that I am an elected and qualified Officer of
EarthSource Minerals International, LLC("ESM"), a Wyoming Limited Liability
Company, and that the following is a complete and accurate copy of a resolution
adopted by the Board of Directors ofESM at a meeting held on ~'~~,,_;r:-~ Z ~,
202 at which a quorum was present and resolved as follows:

       RESOLVED: That ~:~,s~.~ .~ .L~%~~~~ an Officer ofESM,be and
       hereby is authorized to act on behalf ofESM,and in his sole discretion,
       to negotiate, approve, and make the offer of settlement of ESM attached
       hereto, to the United States Securities and Exchange Commission
      ("Commission")in connection with the investigation conducted by
       the Commission; in this connection, the aforementioned officer be
       and hereby is authorized to undertake such actions as he may deem
       necessary and advisable, including the execution ofsuch
       documentation as may be required by the Commission, in order to
       carry out the foregoing.

I further certify that the aforesaid resolution has not been amended or revoked in
any respect and remains in full force and effect.

IN WITNESS WHEREOF,I have executed this Certificate as a sealed instrument
this~day of 54n ~ r                202 .




                                 POS TION: ~t~es ~~e..1"f"
                                 EarthSource Minerals International, LLC


I declare under penalty of perjury under the laws ofthe United States ofAmerica that
the foregoing is true and correct.

ExecutedJrik~f,~ 22,202 I.
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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NEW YORK



 SECURITIES AND EXCHANGE COMMISSION,

                                      Plaintiff,
                                                               C.A. No. __-____
                            v.

 EARTHSOURCE MINERALS INTERNATIONAL,
 LLC, et al.,

                                      Defendants.



                      FINAL JUDGMENT AS TO DEFENDANT
                  EARTHSOURCE MINERALS INTERNATIONAL, LLC

       The Securities and Exchange Commission having filed a Complaint and Defendant

EarthSource Minerals International, LLC having entered a general appearance; consented to the

Court’s jurisdiction over Defendant and the subject matter of this action; consented to entry of

this Final Judgment without admitting or denying the allegations of the Complaint (except as to

jurisdiction); waived findings of fact and conclusions of law; and waived any right to appeal

from this Final Judgment:

                                                   I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:


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        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or


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               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.


                                                IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


                                                V.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


Dated: ______________, _____

                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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